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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                    Criminal No. 17-64 (DWF/KMM)

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )    MEMORANDUM IN
                                    )    SUPPORT OF
           v.                       )    MOTION TO QUASH
                                    )
EDWARD S. ADAMS,                    )
                                    )
                 Defendant.         )

     The United States respectfully submits this Memorandum in Support

of Motion to Quash.

                    SUMMARY OF THE ARGUMENT

     Edward Adams has served a subpoena on one of the Assistant United

States Attorneys representing the government in this matter. For a number

of reasons, the law disfavors attempts by a defendant to call as a witness an

Assistant United States Attorney prosecuting the case. To survive a Motion

to Quash, Mr. Adams must demonstrate both that the evidence is vital to his

case and, even if vital, that there is a compelling need for the AUSA’s

testimony because the same or similar information cannot be presented from

another source. Mr. Adams cannot make such a showing.
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      In his Responsive Notice of Intent to Call Witnesses, Mr. Adams sets

forth several topics about which he seeks to take testimony from AUSA

David Maria.      To the extent these topics are relevant to the Fourth

Amendment reasonableness inquiry at issue, AUSA Maria’s testimony is not

vital on those points, and, even if vital, the same or similar facts can be

presented through another source (and often multiple alternative sources).

Mr. Adams also included in his Responsive Notice references to post-

execution communications between counsel for the parties that are

irrelevant to the manner in which the warrant was executed and that provide

no basis for compelling AUSA testimony. The Court and counsel have

substantial and complete direct evidence about the manner in which the

warrant was executed, which is the issue before the Court at the hearing;

later emails between counsel do nothing to further illuminate the already

full description of the execution itself.

      Mr. Adams’ inability to demonstrate a compelling need to call AUSA

Maria as a witness is a result, in part, of the extensive, transparent

government disclosures made in connection with the motion to suppress

regarding the execution of the warrant. The process used to conduct the

search of Mr. Adams’ email accounts has been broadly and deeply
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documented and disclosed, and demonstrates a deliberate, good faith effort

to filter out potentially privileged emails and thereafter conduct a search for

evidence of fraud, as permitted by the warrant.            The government’s

disclosures to Mr. Adams include declarations from three law enforcement

agents and from United States Attorney’s Office (“USAO”) litigation

support staff.   The government has also provided to the defense (and

attached to this filing) the email communications that document the search

process at issue. The government is in the process of disclosing database

records of the searches conducted by members of the prosecution team and

by USAO litigation support staff during execution of the warrant. Those

disclosures will include the specific search terms used by prosecution team

members in searching the filtered, “For Review Database.” Further, the

government will disclose database activity logs for prosecution team

members and USAO litigation support staff. Those logs will reflect dates

and times when the prosecution team was active in executing the warrant.

The manner in which the government executed the warrant is more than

amply documented without resort to the extraordinary and unwarranted

step of compelling AUSA testimony.



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     Under these circumstances, Mr. Adams has failed to demonstrate that

AUSA Maria’s testimony is vital and, even if vital, that the same or similar

information cannot be presented from other sources.       The government

therefore respectfully requests the Motion to Quash be granted.

                    PROCEDURAL BACKGROUND

                           Motion to Suppress

     This Motion to Quash arises out of the litigation of Mr. Adams’ Motion

to Suppress [Docket No. 37]. Mr. Adams seeks suppression of emails seized

pursuant to search warrant based upon two alleged Fourth Amendment

grounds, claiming that “the search warrant amounted to an unconstitutional

general warrant” and that “the warrant was executed in an unreasonable

manner.” Def. Mem. In Support of Motion to Suppress, Docket No. 37 at 3.

            Government’s Notice of Intent to Call Witnesses

     As to the reasonableness of the manner in which the warrant was

executed, the government filed its Notice of Intent to Call Witnesses on

November 30, 2017. See Government’s Notice of Intent to Call Witnesses,

DCD 52.    The government noticed four potential witnesses.        Id.   The

witnesses include three law enforcement agents (Postal Inspector Christie

Kroells, FBI Special Agent Jennifer Khan, and United States Deputy Marshal,

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formerly IRS Special Agent, Brandon Belich) and one USAO litigation

support staff member (Mark Zeitz). Id.

            Witness Declarations and Documentary Evidence

      The government made extensive disclosures in connection with the

noticed witnesses. First, the government filed a declaration for each of the

four witnesses. See Attachments to Government’s Notice of Intent to Call

Witnesses, DCD 52-1 (Declarations of Kroells, Khan, Belich, and Zeitz). The

witness declarations provide detailed descriptions of the manner in which

the warrant was executed. Id. As part of those descriptions, the witnesses

extensively recount the processes used to filter the emails and execute the

search. Id. The witnesses can be examined on these subjects at the hearing.

      Second, the government has provided to the defense extensive

documentation of the manner in which the government executed the

warrant. Email communications contemporaneous with the facts described

in the Declarations document the process, and the government disclosed

them to the defense at the same time as the Notice of Intent to Call Witnesses

and the Declarations. They are also attached to this Memorandum. See

Attachment A. Those emails include communications regarding the search

process between prosecution team members, between prosecution team

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members and USAO litigation support staff, and between USAO litigation

support staff and the Department of Justice’s Litigation Technology Support

Center (“LTSC”) in South Carolina.

                       Declaration of AUSA Maria

     In addition to the above, the government also provided a declaration

from AUSA Maria. Id., DCD 52-1 (Maria Declaration). The Declaration of

AUSA Maria provides a basis for the Court to ascertain whether Mr. Adams

has demonstrated that AUSA Maria’s testimony is both vital and supported

by compelling need that is unattainable from another source. See United

States v. Reid, 2006 WL 1751789 at *5 (D.N.H. Jun 21, 2006) (considering

Affidavit of AUSA whose testimony was sought by defendant in concluding

that defendant had failed to demonstrate a compelling need for the AUSA’s

testimony).   The declaration is also in keeping with the government’s

transparency about the manner in which the warrant was executed.

       Mr. Adams’ Responsive Notice of Intent to Call Witnesses

     On Friday, December 1, 2017, the defense notified the government that

it intended to notice AUSA Maria and AUSA John E. Kokkinen as defense

witnesses in its Responsive Notice of Intent to Call Witnesses. On Monday,

December 4, the government replied that it did not believe AUSAs Maria

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and Kokkinen could be called as witnesses under relevant Eighth Circuit

authority, that Touhy regulations would apply, and that the matter would

need to be litigated.

       Later on December 4, Mr. Adams filed a Responsive Notice of Intent

to Call Witnesses. See Responsive Notice of Intent to Call Witnesses, DCD

54. Mr. Adams asserted that the government disclosures reflected additional

evidence relevant to his Motion to Suppress. See id. at 1. Specifically, Mr.

Adams included twenty paragraphs identifying evidence disclosed by the

government. See Responsive Notice of Intent to Call Witnesses, DCD 54 at

1-6.   Those paragraphs are discussed below in the relevant argument

sections.

       Mr. Adams concluded by noticing his intent to cross-examine or call

the witnesses noticed by the government. Id. at 7. Mr. Adams also noticed

AUSA Maria as a witness, but not AUSA Kokkinen. Id.

       Mr. Adams served a subpoena on AUSA Maria on December 4

through agreed-upon means (specifically, email attachment with service

accepted by the government). Mr. Adams also provided a Touhy letter to the

government. See Attachment B (Touhy letter). Mr. Adams attached to the

Touhy letter the email communications produced by the government in
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connection with its Notice of Intent to Call Witnesses (the same email

communications attached as Attachment A to this memorandum).

  Additional Government Disclosures Regarding Manner of Execution

     The government has made and is making a number of additional

disclosures in connection with the motion to suppress and additional

defense requests.   The government is making extraordinary disclosures,

including disclosures that encompass work product, in connection with the

motion.

     For example, the government is turning over records of the database

searches (including search terms) conducted during execution of the

warrant. Specifically, the government is compiling and will turn over to the

defense before the motions hearing the database records of searches

conducted by prosecution team members and USAO litigation support staff

during execution of the Yahoo! warrant. The production will include the

search terms used by the prosecution team to search the “For Review Folder”

in executing the warrant.

     The government will also turn over logs of database activity.

Specifically, the government is compiling and will turn over to the defense

before the motions hearing database logs of activity of prosecution team

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members and USAO litigation support staff during execution of the warrant.

The production will show specifically when prosecution team members with

access to the For Review Folder were active in it during execution of the

warrant.

      If there are additional disclosures to be made as preparation for the

hearing continues, the government will make them.

      The available witnesses, declarations of those witnesses, and the

extensive documentary evidence of the manner of execution are not only

more than sufficient to litigate the motion to suppress, they represent a

complete record on which the Court can rely to make its determination. For

the reasons noted below, Mr. Adams has not demonstrated that AUSA

Maria’s testimony is both vital and that there is a compelling need for the

extraordinary step of requiring testimony from counsel for one of the parties

to the case.




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                                 ARGUMENT

I.    AUSA MARIA’S TESTIMONY IS NEITHER VITAL FOR ANY
      RELEVANT MATTER NOR IS THERE A COMPELLING NEED
      FOR IT IN LIGHT OF OTHER EVIDENCE.

      A.    Legal Standard.

      Requests for the testimony of a prosecuting attorney are disfavored.

United States v. Watson, 952 F.2d 982, 986 (8th Cir. 1991); see also United States

v. Ziesman, 409 F.3d 941, 950 (8th Cir. 2005) (same). “The party seeking such

testimony must demonstrate that the evidence is vital to his case, and that

his inability to present the same or similar facts from another source creates

a compelling need for that testimony.” Watson, 952 F.2d at 986; see also

Ziesman, 409 F.3d at 950 (same). The compelling need standard has been

widely applied by courts. See generally United States v. Jansen, 2015 WL

1326150 at *1 (N.D. Ill. March 13, 2005) (unpublished) (citing Watson and

other cases for the proposition that “[t]he Seventh Circuit, as well as other

circuits, have universally recognized that a defendant who wishes to call a

prosecutor as a witness must demonstrate a compelling and legitimate need

for the testimony”).

      Courts apply this demanding standard in both the trial and motions

hearing contexts. See id. (applying compelling need standard in motions

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hearing context and citing additional cases for proposition that “[t]he same

[compelling need] standard applies whether the defendant attempts to call

the prosecutor at trial or at a motion hearing”); see also, e.g., United States v.

Kendricks, 2017 WL 3877645 at *6 - *7 (M.D. Florida Sept. 5, 2017) (applying

compelling need standard in motion to suppress context); United States v

Bailin, 1990 WL 16435 at *1-2 (N.D. Ill. Jan. 22, 1990) (unpublished) (applying

compelling need standard in motion to suppress context); see generally United

States v. Johnston, 690 F.2d 638, 642-46 (7th Cir. 1982) (en banc) (reviewing

reasons for heightened standard and rejecting government argument that

advocate-witness rule should not apply when government seeks AUSA

testimony at suppression hearings). The conjunctive nature of the standard,

requiring vitality and compelling need, applies to efforts by a defendant to

compel the testimony of a prosecuting attorney at a motions hearing for

reasons that go to the heart of the administration of justice and the adversary

system. See generally United States v. Bin Laden, 91 F.Supp.2d 600, 623-24

(S.D.N.Y. 2000) (“The prohibition on a lawyer appearing as a witness in a

case in which he is also serving as an advocate is grounded in important and

legitimate concerns with respect to the proper functioning of the adversary

system.”). Defense efforts to compel an AUSA to testify require heightened
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standards to protect against the potential for abuse and distortion of the

adversary process. See id. at 623 (noting heightened standard required in

part because attempts to force an AUSA to testify “carries the potential to be

abused and invoked in a manner that actually distorts the adversary

process” given possibility of disqualification).     Allowing defendants to

compel AUSA testimony on some lesser showing, when the testimony is not

vital, or, even if vital, when the same or similar information is available from

other sources, would be fraught with potential for abuse and severely

undermine the administration of justice and the adversary system.

      Nor is the appearance of justice served by a prosecuting attorney

assuming the role of a witness. See United States v. Birdman, 602 F.2d 547, 545

(3d Cir. 1979) (noting that the “most frequently cited justification for the

[advocate-witness] rule reflects a broader concern for public confidence in

the process of justice”). Having a prosecuting attorney testify in his or her

criminal matters threatens public confidence in the fairness of the

proceedings. Courts emphasize the need for the heightened standard given

that “[w]hen a defendant seeks to call a prosecuting attorney to be a witness

in a proceeding before the court, the inherent incompatibility between the

traditional roles of an advocate and that of a witness are present.” Bailin,
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1990 WL 16435 at *1 (going on to note ethical underpinnings of advocate-

witness rule); see generally Ethical Consideration 5-9, ABA Code of

Professional Responsibility (“The roles of an advocate and of a witness are

inconsistent; the function of an advocate is to advance or argue the cause of

another, while that of a witness is to state the facts objectively”).

      The decision whether a prosecuting attorney may be called to testify is

within the discretion of the district court. United States v. Watson, 952 F.2d

982, 986 (8th Cir. 1991). The district court’s ruling will not be reversed

“absent a clear and prejudicial abuse of discretion.” Id. (internal quotation

marks and citations omitted); see also United States v. Ziesman, 409 F.3d 941,

950 (8th Cir. 2005).

      B.    The Testimony Of AUSA Maria Is Neither Vital Nor Is There
            A Compelling Need For It.

      Mr. Adams has not demonstrated that the testimony of AUSA Maria

is vital and that his inability to present the same or similar facts from another

source creates a compelling need for that testimony. Mr. Adams sets forth a

number of factual propositions in support of his notice of AUSA Maria as a

witness. Mr. Adams does not, however, demonstrate why AUSA Maria’s

testimony is vital, and there is no showing of compelling need for AUSA


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testimony because every relevant assertion in Mr. Adams’ Responsive

Notice can be supported with non-AUSA witnesses and documents.

Moreover, in a number of instances and particularly with respect to post-

execution communications between counsel about the production of email

databases, the matters set forth in Mr. Adams’ Responsive Notice are

entirely irrelevant to the manner of execution. Accordingly, Mr. Adams’

subpoena seeking to compel the testimony of a prosecuting AUSA should

be quashed.

      Mr. Adams asserts that government disclosures reflect “additional

evidence” relevant to his Motion to Suppress and includes twenty

paragraphs identifying evidence disclosed by the government.              See

Responsive Notice of Intent to Call Witnesses, DCD 54 at 1-6. The factual

assertions made in those twenty paragraphs fall into three categories:

assertions about the execution of the warrant for which AUSA Maria’s

Declaration is not cited at all; assertions about the execution of the warrant

for which AUSA Maria’s Declaration is cited alone or together with other

Declarations; and assertions about post-execution communications between

counsel.   AUSA Maria’s testimony is not necessary as to any of the



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categories, and the post-execution communications are particularly

irrelevant.

              1.   Facts for which AUSA Maria’s Declaration is not cited in
                   support.

      The Declaration of AUSA Maria is not cited at all with respect to many

of the facts in Mr. Adams’ Responsive Notice. Rather, the Declarations of

law enforcement agents and USAO litigation support staff are cited in

support (and, in many instances, the assertions are further documented by

disclosed email communications). See Responsive Notice to Intent to Call

Witnesses, DCD 54 at 1-6, ¶¶ 1-3, 5, 6 (AUSA Maria cited as to some but not

all facts), 7-9, 12, 14-16, 18. The testimony of AUSA Maria is not necessary

and Adams has demonstrated no compelling need as to any of the assertions

for which other evidence is cited in support.

              2.   Facts for which AUSA Maria’s Declaration is cited in
                   support either together with other Declarations or alone.

      Setting aside the paragraphs in which no citation to the Maria

Declaration is made, Mr. Adams cites to the Maria Declaration seven times.

Id. at ¶¶ 4, 6 (cited twice), 10, 11, and 13 (cited twice). In three of those seven

instances, the citations to the Maria Declaration are accompanied by citation

on the same point to an available witness’ declaration:

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   (a)     ¶ 6: Citing Zeitz and Maria Declarations for the proposition
           that “[t]he application of these search terms resulted in
           excluding only approximately 32,000, rather than
           approximately 105,000 emails from the Government’s
           review.”

            Zeitz is available as a witness and the underlying database
            documentation and other provided materials reflect the
            referenced number of emails.


   (b)     ¶ 10: Citing Zeitz and Maria Declarations for proposition that
           “[a]fter the exclusion of approximately 33,000 potentially
           privileged documents, the Review Database would have
           contained approximately 113,000 documents.”

            Zeitz is available as a witness and the underlying database
            documentation and other provided materials reflects the
            referenced number of emails.


   (c)      ¶ 11: Citing Kroells, Khan, Belich, Zeitz, and Maria
            Declarations for proposition that “[t]he Government agents
            and counsel assigned to the case appear to have routinely
            accessed and searched the 113,000 documents in the Review
            Database for investigative purposes as they prepared the
            case for indictment.”

             Kroells, Khan, Belich, and Zeitz are available as witnesses
             and the underlying database documentation and other
             provided and to-be-provided materials reflect the
             prosecution team’s database access and search activity.

There has been no showing that the testimony of AUSA Maria is vital as to

any of the above points or that there is a compelling need for it. To the extent


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the propositions in the paragraphs above are relevant to the Fourth

Amendment reasonableness inquiry, the evidence can be adduced through

other, easily identifiable means.

         Nor has Mr. Adams satisfied the vital and compelling need standards

in connection with the four points for which AUSA Maria’s Declaration is

cited alone:

   (a)      ¶ 4: Citing Maria Declaration for proposition that “[a]t no
            time did the Government use a taint team during its search
            of Attorney Adams’s email.”

            That the government did not use a taint AUSA during its
            search is uncontested. That process is thoroughly reflected
            in the Declarations of available witnesses and supporting
            documentation.


   (b)      ¶ 6: Citing Maria Declaration for proposition that “[t]hose
            32,000 emails were excluded from the Government’s review
            database (“Review Database”) and moved into a segregated
            database (“Segregated Database”).”

            Zeitz is available as a witness on this point and, more
            important, the underlying, contemporaneously recorded
            database documentation shows specifically the referenced
            number of emails.


   (c)      ¶ 13: Citing Maria Declaration for proposition that “[o]n
            April 4, 2017, two weeks after the return of the indictment,
            and thirteen months after receipt of the Yahoo! documents,


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             AUSA Maria requested that a list of relevance search terms
             be applied to the Review Database.”

             Zeitz is available as a witness on this point and there is an
             underlying email communication reflecting AUSA Maria’s
             request. See Attachment C. 1

    (d)      ¶ 13: Citing Maria Declaration for proposition that “[a]ny
             document that did not contain one of the relevance search
             terms was moved from the Review Database to the
             Segregated Database.”

             Zeitz is available as a witness on this point and the
             underlying database documentation reflects the movement
             of the documents.

Again, there has been no showing that the testimony of AUSA Maria is vital

as to any of those points, and, even if it was vital, that there is a compelling

need for it. To the extent the propositions in the paragraphs above are

relevant to the Fourth Amendment reasonableness inquiry, the evidence can

be adduced through other, easily identifiable means.

          Even if AUSA Maria was the only source of relevant facts, and he is

not, the Maria Declaration itself can also be received and considered by the




1 AUSA Maria actually made this request on February 28, 2017, before the
return of the indictment. See DCD 52-1 at 32, Zeitz Decl. at ¶ 27; see also
Attachment C (February 28, 2017, email communication reflecting request).
USAO litigation support staff on April 4 asked the LTSC to execute the
request. See DCD 52-1 at 32-33, Zeitz Decl. at ¶ 28.
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Court as one of the alternatives to AUSA testimony. The Rules of Evidence

do not apply to the motion to suppress, which calls for the Court’s

determination, under Rule 104(a), on a preliminary question of fact

governing admissibility. See Fed. R. Evid. 1101(d)(1); see United States v.

Matlock, 415 U.S. 164, 172–73 (1974) (“[T]he rules of evidence normally

applicable in criminal trials do not operate with full force at hearings before

the judge to determine the admissibility of evidence.” (discussing

Fed.R.Evid. 104(a) & 1101(d)(1)); see also United States v. Raddatz, 447 U.S. 667,

679 (1980) ( “At a suppression hearing, the court may rely on hearsay and

other evidence, even though that evidence would not be admissible at

trial.”).   The Court may accordingly receive and consider the Maria

Declaration as part of the evidentiary record developed in connection with

the motion to suppress.

       Under the circumstances outlined above – where AUSA Maria’s

Declaration is not cited at all in support of factual assertions or the same or

similar evidence, even if it were vital, is available through other sources –

there is no legal support for compelling AUSA testimony. With respect to

those propositions that AUSA Maria is not associated with, his testimony is

not even arguably material, much less vital. See, e.g., Ziesman, 409 F.3d at
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950-51 (affirming denial of defendant’s effort to call AUSA as a witness

where AUSA testimony was not vital); Watson, 952 F.2d at 986-87 (affirming

denial of defendant’s effort to call AUSA as a witness where AUSA

testimony was not vital).

     For propositions for which the same or similar evidence, even if it were

vital, can be presented through other sources, courts have consistently

concluded that the defendant has not met the compelling need standard and

have rejected efforts to compel AUSA testimony. See, e.g., United States v.

Wooten, 377 F.3d 1134, 1143 (10th Cir. 2004) (affirming denial of defendant’s

effort to call AUSA as a witness because no vital need for the testimony given

an available written memorandum establishing the same or similar facts was

an adequate substitute); United States v. Atman, 145 F.3d 1333 (Table), 1998

WL 211767 at *4 (10th Cir. 1998) (unpublished) (affirming denial of

defendant’s effort to call AUSA as a witness for lack of compelling need

where same or similar evidence could be presented through other witnesses

and documents); United States v. Ashman, 979 F.2d 469, 493-94 (7th Cir. 1992)

(considering availability of other witnesses to present same or similar facts

in affirming district court’s conclusion that defendant had not demonstrated

compelling need for AUSA testimony); United States v. Troutman, 814 F.2d
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1428, 1440 (10th Cir. 1987) (affirming denial of defendant’s effort to call

AUSA as a witness given “[a] number of potential witnesses exist who

possess knowledge concerning the actions and recommendations of the

Attorney General regarding the awarding of this contract. The defendants

are aware of these witnesses. Indeed, the defendants attached to their

memorandum in support of this motion a number of official letters between

the Attorney General's office and various state agencies and officials

concerning the awarding of the contract and the timing thereof.”); United

States v. Schwartzbaum, 527 F.2d 249, 253 (2d Cir. 1975) (considering

availability of written memorandum to present same or similar facts in

concluding defendant had not demonstrated compelling need for AUSA

testimony); United States v. Beard, 2016 WL 3964902 at *2 (W.D. Ky. July 18,

2016) (unpublished) (“[The defendant] has not demonstrated that [the

AUSA’s] testimony is ‘vital’ to resolving his motion to vacate, set aside, or

correct his sentence. Nor has [the defendant] established an inability to

prove the same points through other witnesses or alternative sources of

evidence. There is no compelling and legitimate need to call [the AUSA] as

a witness.”); United States v. Reid, 2006 WL 1751789 at *5 (D.N.H. Jun 21, 2006)

(unpublished) (considering availability of other witnesses to present same
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or similar facts in concluding defendant had not demonstrated compelling

need for AUSA testimony); United States v. Jansen, 2015 WL 1326150 at *2-*11

(N.D. Illinois March 13, 2015) (unpublished) (reviewing defendant’s twenty-

four proffered reasons for attempting to compel AUSA testimony and

considering availability of other witnesses and documentary evidence to

present same or similar facts in concluding defendant had not demonstrated

a compelling need for AUSA testimony); United States v. Bailin, 1990 WL

16435, at *1–2 (N.D. Ill. Jan. 22, 1990) (unpublished) (considering availability

of other witnesses to present same or similar facts in concluding defendant

had not demonstrated compelling need for AUSA testimony).

      When a court has compelled AUSA testimony, the showing of

compelling need far exceeded the showing made by Mr. Adams here. See

United States v. Prantil, 764 F.2d 548, 552-54 (9th Cir. 1985) (allowing AUSA

testimony where AUSA was the only witness, other than the defendant, to

events alleged in the indictment, including AUSA’s participation in

discussions between himself and defendant that gave rise to the indictment

and conviction of defendant for false statements and accessory after the fact).




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           3.    Post-execution communications between counsel are not
                 relevant to the manner in which the warrant was
                 executed and provide no basis for calling opposing
                 counsel as a witness.

     Three paragraphs of Mr. Adams’ Responsive Notice reference post-

execution communications between AUSA Maria and defense counsel. See

Responsive Notice of Intent to Call Witnesses, DCD 54 at 5-6, ¶¶ 17, 19-20;

Attachment D (full email chain including emails cited in paragraphs 19 and

20 of Mr. Adams’ Responsive Notice). None of those communications are

relevant to the manner in which the warrant was executed. To the extent

Mr. Adams intends to suggest AUSA Maria was intentionally misleading in

post-execution communications — and he was not — the communications

are irrelevant to the manner of execution.

     In addition to being irrelevant, Mr. Adams has not demonstrated that

AUSA Maria’s testimony is vital and, even if it were vital, supported by

compelling need.     The post-execution communications themselves are

documented in the letter and emails referenced in Mr. Adams’ Responsive

Notice. And if the Court has questions about communications between

counsel, the Court can inquire of either or both counsel as officers of the

Court. Discovery communications are not valid bases for opposing counsel


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to call each other to the witness stand in any context, criminal or civil;

otherwise, civil discovery disputes would routinely devolve into attempts to

subpoena and cross-examine opposing counsel.        Questions about such

communications certainly do not satisfy the vital and compelling need

standards that attend extraordinary and disfavored attempts by a defendant

to compel a prosecuting attorney to testify.

      In sum, Mr. Adams has not demonstrated that the testimony of AUSA

is vital and, even if vital, supported by a compelling need. The same or

similar evidence referenced in Mr. Adams’ Responsive Notice, to the extent

relevant to the Fourth Amendment inquiry at all, can be presented through

other sources. Mr. Adams’ subpoena for AUSA Maria should be quashed.

II.   THE TOUHY ISSUE IS NOT, AND MAY NEVER BE, RIPE FOR
      THE COURT’S CONSIDERATION.

      Department of Justice regulations govern Department authorization of

testimony by Department employees.         See 28 C.F.R. §§ 16.21-29.   The

regulations are referred to as the Touhy regulations after the Supreme Court

case upholding predecessor regulations prohibiting a Department employee

from producing documents pursuant to subpoena. See U.S. ex rel. Touhy v.

Ragen, 340 U.S. 462 (1951).


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      Following Mr. Adams’ subpoenaing of AUSA Maria and his provision

of a Touhy letter, the Acting United States Attorney reviewed the

authorization considerations set forth in the regulations.   See 28 C.F.R.

§ 16.26. The Acting United States Attorney has currently not authorized

AUSA Maria to testify. The government does not assert the current denial

as a basis for quashing the subpoena. See generally United States v. Vander

Luitgaren, 2008 WL 2610465 at *3 (M.D. Fla. June 30, 2008) (unpublished)

(quashing subpoena in part because “the U.S. Attorney’s decision to

preclude AUSA Perez’s testimony was valid under Touhy”); id. at *2 (“Even

if it were relevant, the Court would refuse to require AUSA Perez’s

testimony based on the U.S. Attorney’s decision.”); United States v. Mintz,

1996 WL 666784 at *1 (D. Kan. March 15, 1996) (unpublished) (quashing

subpoena for AUSA testimony where “the United States Attorney has not

authorized” it).

      The denial of authorization is preliminary, as the regulations

contemplate final review and decision by the Acting United States Attorney

should the Court deny the government’s Motion to Quash. See 28 C.F.R.

§ 16.28 (requiring Department employee to “respectfully decline to comply

with the demand” to testify “if so directed by the responsible Department
                                    25
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official”). If the Court denies the government’s Motion to Quash, the Acting

United States Attorney would review the Court’s ruling and any limitation

placed on the scope of AUSA testimony in deciding how to direct AUSA

Maria pursuant to § 16.28.

                             CONCLUSION

     For the reasons stated herein, the government respectfully requests

that its Motion to Quash be granted.



Dated: December 13, 2017                    Respectfully Submitted,

                                            GREGORY G. BROOKER
                                            Acting United States Attorney

                                            /s/ David M. Genrich

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